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5
     Attorney for Defendant
6    TRENT DAVIS
7
8                        IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. Cr. F 03-5054 OWW
                                     )
12                  Plaintiff,       )      STIPULATED MOTION AND ORDER TO
                                     )      REDUCE SENTENCE PURSUANT TO 18
13        v.                         )      U.S.C. § 3582(c)(2)
                                     )
14   TRENT DAVIS,                    )      RETROACTIVE CRACK COCAINE
                                     )      REDUCTION CASE
15                  Defendant.       )
                                     )
16   _______________________________ )
17        Defendant, TRENT DAVIS, by and through his attorney, Assistant
18   Federal Defender David M. Porter, and plaintiff, UNITED STATES OF
19   AMERICA, by and through its counsel, Assistant U.S. Attorney DAWRENCE
20   RICE, hereby stipulate as follows:
21        1.   Pursuant to 18 U.S.C. § 3582(c)(2), this court may reduce the
22   term of imprisonment in the case of a defendant who has been sentenced
23   to a term of imprisonment based on a sentencing range that has
24   subsequently been lowered by the Sentencing Commission pursuant to 28
25   U.S.C. § 994(o);
26        2.   The sentencing range applicable to Mr. Davis was subsequently
27   lowered by the United States Sentencing Commission in Amendment 706 by
28   two levels;
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1         3.    Accordingly, Mr. Davis’s adjusted offense level has been
2    reduced from 32 to 30, and a sentence at the bottom of the newly
3    applicable guideline range would be 168 months;
4         4.    Mr. Davis merits a reduction in his sentence based on the
5    factors listed in 18 U.S.C. § 3553(a), as well as considerations of
6    public safety and Mr. Davis’s positive post-sentencing conduct;
7         5.    Accordingly, the parties request the court to enter the order
8    lodged herewith reducing Mr. Davis’s term of imprisonment to term of
9    168 months.
10   Dated:    November 17, 2009
11   Respectfully submitted,
12   BENJAMIN B. WAGNER                    DANIEL J. BRODERICK
     United States Attorney                Federal Defender
13
14
       /s/ Dawrence Rice                     /s/ David M. Porter
15   DAWRENCE RICE                         DAVID M. PORTER
     Assistant U.S. Attorney               Assistant Federal Defender
16
     Attorney for Plaintiff                Attorney for Movant
17   UNITED STATES OF AMERICA              TRENT DAVIS
18                                       ORDER
19        This matter came before the Court on the stipulated motion of the
20   defendant for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2).
21        On May 22, 2006, this Court sentenced Mr. Davis to a term of
22   imprisonment of 210 months.    The parties agree, and the Court finds,
23   that Mr. Davis is entitled to the benefit of the retroactive amendment
24   reducing crack cocaine penalties, which reduces the applicable offense
25   level from 32 to 30.
26        IT IS HEREBY ORDERED that the term of imprisonment originally
27   imposed is reduced to term of 168 months;
28   / / /

     STIPULATED MOTION and ORDER TO REDUCE SENTENCE
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1         IT IS FURTHER ORDERED that all other terms and provisions of the
2    original judgment remain in effect.
3         Unless otherwise ordered, Mr. Davis shall report to the United
4    States Probation office closest to the release destination within
5    seventy-two hours after his release.
6    IT IS SO ORDERED.
7    Dated: November 17, 2009              /s/ Oliver W. Wanger
     emm0d6                           UNITED STATES DISTRICT JUDGE
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     STIPULATED MOTION and ORDER TO REDUCE SENTENCE
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